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13
                            IN THE UNITED STATES DISTRICT COURT
14
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15

16

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18   GAVIN NEWSOM, IN HIS OFFICIAL                     NO. 3:25-cv-04870
     CAPACITY AS GOVERNOR OF THE STATE OF
19   CALIFORNIA; STATE OF CALIFORNIA,

20                                       Plaintiffs,   Plaintiffs’ Reply Brief

21                 v.

22                                                     Date:        June 12, 2025
     DONALD TRUMP, IN HIS OFFICIAL                     Time:        1:30 PM
23   CAPACITY AS PRESIDENT OF THE UNITED               Courtroom:
     STATES; PETE HEGSETH, IN HIS OFFICIAL             Judge:       Charles R. Breyer
24   CAPACITY AS SECRETARY OF THE                      Trial Date:
     DEPARTMENT OF DEFENSE; U.S.                       Action Filed: June 9, 2025
25   DEPARTMENT OF DEFENSE,

26                                    Defendants.

27

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 1
                                              INTRODUCTION
 2
            President Trump and his fellow Defendants advance a breathtaking vision of unlimited,
 3
     unreviewable executive power. As they see things, 10 U.S.C. § 12406 allows the President to
 4
     federalize a State’s national guard and send armed soldiers onto American streets whenever the
 5
     President perceives “opposition” to federal authority or “[d]isobedience of a legal command,”
 6
     Opp. 14; the President may do so without “consent or input” from the Governor of that State, id.
 7
     at 17; the statutory requirement that orders “shall be issued through the governor[]” may be
 8
     satisfied by the federal Secretary of Defense stamping those words on the face of the order, id.;
 9
     and any invocation of the Section 12406 authority is “unreviewable” by an Article III court—
10
     regardless of the circumstances, id. at 10.
11
            What is more, Defendants insist that “the Posse Comitatus Act does not apply” to
12
     federalized guard units once the President has unilaterally invoked Section 12406 in this way.
13
     Opp. 21. And even if it applies, they believe the Act allows federal troops to directly participate
14
     in the enforcement of civil laws alongside civilian officials in populated communities, see id. at
15
     20-22—as they have been doing on the streets of Los Angeles in the short time since the State’s
16
     motion for a temporary restraining order was filed, and as they have said the United States
17
     Marines will be doing imminently. That unfettered view of executive authority contradicts the
18
     text and history of Section 12406 and the Posse Comitatus Act, the State’s reserved authority
19
     under the Tenth Amendment, and foundational American traditions.
20
            But the State is not asking this Court to resolve all of those questions today. The only
21
     question before the Court now is whether to grant narrow and temporary relief to avoid the
22
     immediate harms that will arise from Defendants’ unprecedented decision to move federal troops
23
     beyond their initial mission to protect federal buildings, and instead to employ them to participate
24
     in civil immigration enforcement throughout our communities. As explained in the motion and
25
     this reply, the State is likely to succeed on its claims that Defendants lack authority to use the
26
     National Guard and Marine Corps units in this way. The tailored relief requested by the State is
27
     necessary to avoid further escalation of an already tense and perilous situation. That relief will
28
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 1   not harm Defendants: They may continue to rely on civilian law enforcement officials to protect

 2   federal personnel engaged in civil immigration enforcement—as they have consistently for

 3   decades until two days ago. And they may use federal troops and officers to protect federal

 4   facilities, and personnel at those facilities, while this litigation proceeds.

 5                                                ARGUMENT
 6         Plaintiffs are likely to succeed on the merits of their claims, and the equitable factors

 7   overwhelmingly support the narrow relief sought in the motion for a temporary restraining order.

 8   I.    PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS
 9         A.    The Section 12406 Federalization Orders Are Unlawful and Reviewable
10         The Militia Clauses of the Constitution give Congress the power to “provide for calling

11   forth the militia to execute the laws of the union, suppress insurrections, and repel invasions,” art.

12   I, § 8, cl. 15, as well as the power to “provide for organizing, arming, and disciplining the militia,

13   and for governing [the militia when] employed in the Service of the United States, id. cl. 16.

14   Congress has delegated its power to deploy the National Guard domestically to the President in

15   certain specific circumstances, as set forth in statute. One such delegation is 10 U.S.C. § 12406,

16   which requires both that one of three predicate conditions exist and that the order calling guard

17   units into federal service “shall be issued through the governor[]” of the State in question.

18   Neither of those requirements is satisfied here, and Defendants’ failure to comply with the

19   requirements Congress imposed in Section 12406 is subject to review by this Court. Plaintiffs are

20   likely to succeed on their claim that the Defendants’ June 7 and June 9 orders are ultra vires.

21               1.     No conditions support invocation of Section 12406
22         Defendants do not contend that the circumstances on June 7 or June 9 amounted to an

23   invasion or “danger of invasion by a foreign nation.” 10 U.S.C. § 12406(1). And their arguments

24   about the remaining predicates of Section 12406 are unpersuasive.

25         Rebellion or danger of rebellion. The standard definition of “rebellion” means “an

26   organized attempt to change the government or leader of a country, [usually] through violence.”

27   Rebellion, Black’s Law Dictionary (12th ed. 2024); see id. (“Cf. civil war under war”). The term

28   is closely related to the concept of treason, but generally involving “domestic rebels” rather than
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 1   “foreign public enemies.” United States v. Greathouse, 26 F. Cas. 18, 25 (C.C.N.D. Cal. 1863).

 2   That is why—as in Section 12406 itself—the term “rebellion” is often used alongside the related

 3   term “invasion.” See also U.S. Const., Art. I, § 9, cl. 2 (specifying that the writ of habeas corpus

 4   “shall not be suspended, unless when in Cases of Rebellion or Invasion the public Safety may

 5   require it”). Rebellion is not a synonym for civil unrest.

 6         Defendants assert that there was rebellion or danger of a rebellion because the protests in

 7   Los Angeles on June 7 and 8 entailed some degree of “violence . . . in opposition to federal

 8   immigration enforcement.” Opp. 14. They cite examples such as protestors “throwing rocks and

 9   other objects,” “vandalizing property,” “blocking traffic,” and “burning . . . cars.” Id. at 15. To

10   be clear, the Governor and local elected officials repeatedly and unequivocally condemned those

11   isolated episodes of violence. ECF No. 8 at p. 4 (citing examples). And state and local law

12   enforcement responded effectively to them, including by making dozens of arrests. ECF No. 8-2,

13   Olmstead Decl. at ¶¶ 9-10, 14. These episodes of violence, while deplorable, are not

14   categorically different from those that have occurred during other periods of civil unrest in recent

15   years across the country and throughout our nation’s history. Defendants cite no legal authority

16   for the sweeping proposition that primarily peaceful protests—accompanied by a degree of

17   violence that state and local law enforcement plan for as part of standard operations and were able

18   to address by implementing those plans—constitutes “rebellion” or a “danger of rebellion” within

19   the meaning of the statute.

20          Instead, Defendants invoke the secondary and tertiary dictionary definitions of the term

21   “rebellion” as “[o]pen resistance or opposition to an authority or tradition” or “[d]isobedience of a

22   legal command or summons.” Opp. 14 (quoting Black’s Law Dictionary). But it is not remotely

23   plausible that Congress intended Section 12406 to authorize the federalization of state national

24   guard units whenever a civilian or group of civilians expressed open opposition to federal

25   authority or disobeyed a legal command. The only reasonable reading of Section 12406(2) is that

26   it demands the type of violent and organized attempt to change the Government of the United

27   States that would warrant a militarized response.

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 1         Defendants fare no better when they contend that Plaintiffs’ evidentiary submission

 2   establishes, “[a]t a minimum, . . . a ‘danger of a rebellion’ against federal authority.” Opp. 16;

 3   see id. at 14-16. Plaintiffs do not concede that there was “unchecked violence in Los Angeles.”

 4   Opp. 13. To the contrary, Plaintiffs’ evidence shows that local and state law enforcement

 5   agencies have responded promptly and appropriately to the isolated incidents of unlawful activity

 6   that occurred in recent days—as they have in similar circumstances in the past. Since the protests

 7   began on June 6, thousands of officers from state and local law enforcement agencies have

 8   responded to the incidents—first from local Los Angeles agencies, and later from neighboring

 9   jurisdictions under the established mutual aid system to bring in reinforcements, as is standard

10   practice. Supp. Olmstead Decl. ¶¶ 5-8. The California Highway Patrol has had 800 uniformed

11   personnel on the ground. Id. ¶ 10. These state and local agencies made more than 400 arrests

12   related to protests in Los Angeles since June 7. Id. ¶ 14. Defendants also argue that evidence of

13   “demonstrators ‘blocking traffic on [a] busy thouroughfare’” or “‘spray-paint[ing] anti-ICE

14   slogans on [a] building’s exterior walls’” establishes conduct “that rises to the level of rebellion.”

15   Opp. 15. By that logic, every President has seen dozens of “rebellions” come and go while

16   failing to deploy the National Guard to “suppress the rebellion.”

17         Unable to execute the laws. Nor can Defendants establish that any of the protests in Los

18   Angeles have rendered the President “unable with the regular forces to execute the laws of the

19   United States.” 10 U.S.C. § 12406(3). According to news reports based on statements from the

20   U.S. Department of Homeland Security, on Friday, June 6, when the protests began, Immigration

21   and Customs Enforcement (ICE) officers carried out enforcement actions at multiple locations

22   within Los Angeles County and the City of Los Angeles. ECF No. 8-1, Ex. G. In all, the

23   Department of Homeland Security reported that its enforcement activities that day resulted in the

24   arrest of approximately 44 individuals and 70-80 people detained. Id. Despite the protests, ICE

25   announced arrests in Los Angeles on June 7 and officers have continued to carry out enforcement

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 1   actions since that date. 1 Espíritu Decl., Ex. 1. Those facts foreclose any argument that federal

 2   officials are unable to execute federal laws.

 3         Defendants do not dispute that ICE has continued to execute federal immigration laws

 4   throughout the period of protests. They instead cite a declaration from a federal official stating

 5   that there were “threats to the safety of federal law enforcement personnel,” which “the President

 6   could reasonably have determined [were] intolerable.” Opp. 16. But Section 12406(3) does not

 7   say that the President may federalize the national guard whenever there is some degree of threat

 8   to federal personnel. At a minimum, for the President to be “unable” to “execute the laws of the

 9   United States,” the threats must be of such a magnitude that ordinary security measures using

10   “regular forces” are insufficient to enable the enforcement of federal law. 10 U.S.C. § 12406(3).

11   The situation here plainly does not rise to that level. And it is a far cry from the only other time

12   in our nation’s history that a President has relied on the exclusive authority of Section 12406 to

13   federalize the National Guard: when President Nixon called the National Guard into service to

14   deliver the mail during a postal strike that involved over 210,000 postal workers and over 670

15   locations nationwide, i.e., where federal personnel who otherwise executed the relevant function

16   were unavailable due to being on strike. ECF No. 8 at 10. 2

17               2.    The June 7 and June 9 orders were not “issued through” the
                       governor
18
           Defendants also cannot establish that the federalization orders here were “issued through
19
     the governor[]” of California. 10 U.S.C. § 12406. That language did not appear in the original
20
     version of Section 12406, and Congress’s decision to add it to the statute must be given effect.
21
     See ECF No. 8 at 11. At an absolute minimum, the statute must be understood to afford the
22
     Governor an opportunity for consultation and to voice objections to a federalization order before
23
     an order can be “issued through” him over his objection. After all, governors are in the best
24
     position to understand the public safety needs of the communities in their States, and the status
25
            1
                See also Summer Lin, et al, Immigration raids intensify, with hundreds of arrests and
26   tense moments across L.A. area, Los Angeles Times (June 11, 2025),
     https://www.latimes.com/california/story/2025-06-11/los-angeles-immigration-protest-curfew.
27   (last visited June 12, 2025).
              2
                See also Exec. Order No. 11519 (1970 WL 123093) (executive order issued by President
28   Nixon invoking the predecessor to section 12406).
                                                       5
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 1   and capabilities of state and local law enforcement, as well as state national guard units. But

 2   Defendants’ reading of Section 12406 would render the language surplusage by denying

 3   governors any opportunity even for consultation before their national guard units are federalized.

 4   Opp. 19 (“Nothing in the statute requires consultation”).

 5            Defendants contend they may satisfy the “shall be issued through the governor[]”

 6   requirement merely by inserting “the label ‘THROUGH: THE GOVERNOR OF

 7   CALIFORNIA’” on the cover of the order. Opp. 17. That argument strains credulity.

 8   Defendants offer no textual or historical explanation for why Congress would have seen fit to add

 9   such a meaningless procedural provision. And principles of constitutional avoidance also weigh

10   against adopting Defendants’ strained understanding of Section 12406. Among other things, it

11   would “diminish the accountability of state [and] federal officials,” Printz v. United States, 521

12   U.S. 898, 930 (1997), to require the Governor to issue an order whose contents were dictated

13   entirely by federal officials, without an opportunity even for input or consultation—

14   commandeering his stature and office while reducing him to a mere messenger. Here, for

15   example, had Defendants consulted with the Governor, they could have discussed not only

16   whether the California National Guard should be called into federal service at all, but also, if so,

17   which and how many service members should be called, and for what purposes and time period,

18   in what locations and with what equipment, and potential alternatives such as mobilization under

19   state command via Title 32 or utilization of additional non-military, law enforcement personnel to

20   maintain peace. Defendants’ failure to consult violates both the letter and purpose of Section

21   12406.

22            To justify their strained interpretation, Defendants invoke (Opp. 17) the responsibilities of

23   the California Adjutant General, to whom Secretary Hegseth’s June 7 order was issued. See Cal.

24   Mil. & Vet. Code § 163 (Adjutant General “shall issue all orders in the name of the Governor”).

25   They reason that “[o]rders going ‘through’ the . . . the Governor’s Adjutant General” are

26   sufficient to satisfy Section 12406. Opp. 18. That argument runs headlong into the plain text of

27   the statute, which allows direct orders to the commanding general only for the District of

28   Columbia. Orders for these purposes “shall be issued through the governors of the States or, in
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 1   the case of the District of Columbia, through the commanding general of the National Guard of

 2   the District of Columbia.” 10 U.S.C. § 12406 (emphasis added). Congress knew how to identify

 3   a national guard general as the official whom orders must be “issued through.” When it came to

 4   sovereign States like California, however, Congress chose to require a role for the governor.

 5         Finally, Defendants argue that “even if Plaintiffs’ interpretation of the statute were correct,

 6   the only party acting unlawfully would be Governor Newsom” because he “should have issued

 7   the order himself.” Opp. 19; see id. (“Section 12406 uses the mandatory ‘shall,’ depriving the

 8   Governor of any possible discretion in whether to issue an order.”) But Section 12406’s “shall”

 9   clause imposes a requirement that the President must ensure is satisfied before National Guard

10   units are federalized. It does not dragoon a governor into issuing such an order where, as here,

11   none of the statutory predicates is satisfied, attempting to do so would raise significant concerns

12   under the anti-commandeering principle of the Tenth Amendment, and the constitutional

13   avoidance doctrine therefore counsels against such an interpretation. And in any event, Governor

14   Newsom was never given an opportunity to issue any orders or consult as to their advisability.

15   Defendants unilaterally issued the orders themselves.

16               3.    The claim that Defendants exceeded the authority granted by
                       Congress in Section 12406 is subject to judicial review
17
           Defendants also contend (Opp. 10-13) that this Court is powerless to review whether their
18
     unprecedented federalization orders violated the requirements imposed by Section 12406. Opp.
19
     10-13. That is not correct. While a court should afford respect and an appropriate level of
20
     deference to the Executive’s judgment, Section 12406 is—and must be—subject to judicial
21
     interpretation and review.
22
           The political-question doctrine “excludes from judicial review those controversies which
23
     revolve around policy choices and value determinations constitutionally committed for resolution
24
     to the halls of Congress or the confines of the Executive Branch.” Japan Whaling Ass’n v. Am.
25
     Cetacean Soc’y, 478 U.S. 221, 230 (1986). The doctrine is “a narrow exception” to the rule that
26
     “the Judiciary has a responsibility to decide cases properly before it, even those that it ‘would
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     gladly avoid.’” Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S. 189, 194 (2012). The doctrine
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 1   comes into play only “when there is ‘a textually demonstrable constitutional commitment of the

 2   issue to a coordinate political department; or a lack of judicially discoverable and manageable

 3   standards for resolving it.’” Id. at 195; accord Baker v. Carr, 369 U.S. 186, 217 (1962).

 4          As another district court recently explained, “[s]imply because a legal claim implicates

 5   foreign affairs or national security . . . does not mean that the political-question doctrine places it

 6   ‘beyond judicial cognizance.’” J.G.G. v. Trump, ___ F. Supp. 3d ___, 2025 WL 290401, at *9

 7   (D.D.C. Mar. 24, 2025). “To the degree that a claim requires the court to interpret a statutory

 8   provision,” the political-question doctrine generally “is not implicated,” because “deciding such

 9   questions ‘is a familiar judicial exercise.’” Id. (quoting Zivotofsky, 566 U.S. at 196); cf. Loper

10   Bright Enterpr. v. Raimondo, 603 U.S. 369, 385 (2024) (“‘[I]t is emphatically the province and

11   duty of the judicial department to say what the law is.’” (quoting Marbury v. Madison, 1 Cranch

12   137, 177, 2 L.Ed. 60 (1803)). That is the case here: California simply seeks a judicial

13   interpretation and application of the terms of Section 12406. It is not asking the Court to

14   “supplant a foreign policy decision of the political branches” or make an “unmoored

15   determination of what United States policy” regarding immigration or military deployment should

16   be. Zivotofsky, 566 U.S. at 196. And while the political question doctrine supports the separation

17   of powers between the Executive and Judicial Branches when it comes to questions confined to

18   the Executive Branch’s domain, the question here itself involves a vertical separation-of-powers

19   dispute—between the federal Executive and a sovereign State—that only the Judiciary can

20   resolve.

21          There is no “textually demonstrable” indication that Congress intended to preclude

22   judicial review here. Zivotofsky, 566 U.S. at 195. Defendants characterize Section 12406 as

23   “authoriz[ing] ‘the President’ to activate Guardsmen ‘in such numbers as he considers necessary

24   to repel the invasion, suppress the rebellion, or execute those laws.” Opp. 10 (emphasis in

25   defendant’s opposition). But the phrase “as he considers necessary” is a textual commitment of

26   discretion with respect to the President’s decision about the “numbers” of members of the

27   National Guard called into service. 10 U.S.C. § 12406 (emphasis added). Congress pointedly did

28   not include that language when describing the predicate conditions that must be satisfied before
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 1   federalization of the National Guard is statutorily authorized. And here, California is not seeking

 2   review of the President’s determination regarding the number of members of the National Guard

 3   to call into service, but rather of whether one of the three predicate conditions is satisfied in the

 4   first place, and whether the provision’s respect for the independent role of the Governor was

 5   honored. There is no textual indication that that threshold question is committed to the

 6   President’s discretion and beyond judicial review.

 7         Nor do the cases Defendants cite suggest that the interpretation of Section 12406 presents a

 8   political question. Defendants rely heavily (Opp. 10-11) on Martin v. Mott, 25 U.S. (12 Wheat.)

 9   19 (1827). But that decision long predates the modern political-question doctrine, and it arose in

10   a markedly different factual setting from this one: a national guardsman faced a court-martial for

11   refusing to comply with an order to report for service during the War of 1812. Id. at 20-22. The

12   Supreme Court rejected the guardsman’s argument that the President’s order calling the militia

13   into service was unlawful. It emphasized that military service requires “prompt and unhesitating

14   obedience,” and the validity of the President’s order was not “open to be contested by every

15   militia-man who shall refuse to obey” it. Id. at 30. That reasoning does not suggest that the

16   present-day political-question doctrine extends to a vertical separation-of-powers dispute between

17   a State and federal officials regarding whether one of the three statutorily enumerated predicate

18   conditions to federalization of the State’s National Guard is satisfied.

19          Moreover, Martin arose in the context of a war between sovereigns, not a dispute

20   regarding whether domestic civil unrest constituted a “rebellion.” That consideration also

21   distinguishes California v. United States, 104 F.3d 1086, 1090 (9th Cir. 1997) (cited at Opp. 13),

22   where the court of appeals held that a State’s claim that the Federal Government had violated the

23   Invasion Clause of the Constitution (Art. IV, § 4) by failing to stop illegal immigration presented

24   a “nonjusticiable political question.” This case, in contrast, presents the question whether

25   domestic civil unrest constitutes a “rebellion” for purposes of Section 12406, sufficient to

26   displace a state’s police powers and sovereign authority. That question bears a far more

27   tangential relationship than the issues in Martin and California to the kinds of “foreign policy

28   concerns which have been constitutionally committed to the political branches.” California, 104
                                                        9
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 1   F.3d at 1091. Defendants’ position that the President possesses sole and unreviewable discretion

 2   to deem domestic civil unrest a “rebellion” for purposes of federalizing the National Guard would

 3   disrupt the delicate balance the Framers and Congress have struck between empowering the

 4   President to respond to genuine national emergencies while circumscribing his power to call the

 5   militia into service for domestic law enforcement purposes or to override State authority. 3

 6         To be sure, “the Executive’s evaluation of the underlying facts is entitled to appropriate

 7   weight.” Trump v. Hawaii, 585 U.S. 667, 708 (2018). But the basic facts here regarding what

 8   has occurred on the ground in Los Angeles are largely undisputed; the question is whether those

 9   facts satisfy one or more of the predicate conditions for federalization of the National Guard.

10   That determination, which entails determining “the meaning of a statute,” is the “‘solemn duty’ of

11   the Judiciary.” Loper Bright Enters. v. Raimondo, 603 U.S. 369, 385 (2024).

12                                               *      *       *

13         Cumulatively, Defendant’s arguments about Section 12406 would require the Court to read

14   that provision as an astonishingly broad grant of executive authority. The President would be

15   empowered to unilaterally federalize a State’s National Guard, without any input or consultation

16   from the Governor, based on levels of civil unrest or disobedience that occur throughout our

17   Nation on a regular basis. Indeed, under Defendants’ construction, the President could determine

18   that interference with the duties of, or a physical assault upon, a single federal employee—or the

19   threat thereof, including via large-scale peaceful protests—is sufficient to trigger federalization.

20   And even if the President plainly did not satisfy Defendants’ minimalist interpretation of the

21   statutory predicates for federalizing National Guard units, the Courts would be powerless to

22   review that abuse of power. That unchecked power could be deployed in any context—not just

23   where civilians are protesting immigration enforcement, but also where they are protesting other

24   policies of the federal administration, or rallying in support of a political cause, or in advance of a

25
            3
               Defendants also invoke (Opp. 12) Dalton v. Spector, 511 U.S. 462, 474 (1994). But
26   “Dalton’s holding merely stands for the proposition that when a statute entrusts a discrete specific
     decision to the President and contains no limitations on the President’s exercise of that authority,
27   judicial review of an abuse of discretion claim is not available.” Chamber of Com. of U.S. v.
     Reich, 74 F.3d 1322, 1331 (D.C. Cir. 1996) (emphasis added). Here, Section 12406 contain clear
28   limitations on the President’s authority.
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 1   hotly contested federal election in select disfavored states. That is a frightening vision that finds

 2   no basis in the text of Section 12406.

 3         B.    Defendants Are in Violation of the Posse Comitatus Act and the Tenth
                 Amendment
 4
           Our Nation’s history and laws reflect “a traditional and strong resistance . . . to any military
 5
     intrusion into civilian affairs.” United States v. Dreyer, 804 F.3d 1266, 1272 (9th Cir. 2015) (en
 6
     banc) (quoting Laird v. Tatum, 408 U.S. 1, 15 (1972)); see also Amicus Br. of Former U.S. Army
 7
     & Navy Secretaries & Retired Four-Star Admirals & Generals, ECF No. 31-1 at 4, 8-10. The
 8
     Posse Comitatus Act (PCA) preserves that tradition by barring the military from engaging in
 9
     “direct active involvement in the execution of the laws” or other conduct that “pervade[s] the
10
     activities of civilian authorities.” Dreyer, 804 F.3d at 1275 (internal quotation marks omitted).
11
     Under 2018 guidance from the Joint Chiefs of Staff on implementing the PCA, the list of
12
     prohibited “direct civilian law enforcement activities” includes “search, seizure, arrest,
13
     apprehension, stop and frisk, surveillance, pursuit, interrogation, investigation, evidence
14
     collection, security functions, [and] traffic or crowd control.” 4 The PCA also “preserves
15
     federalism” and serves the Tenth Amendment by making “state and local governments
16
     responsible for most law enforcement.” Maggs, Assessing the Legality of Counterterrorism
17
     Measures, 80 Temp. L. Rev. 661, 670 (2007); see also ECF No. 8 at 11-12 (“policing and crime
18
     control remain one of the most basic rights reserved to the states”).
19
           When the State and Governor Newsom sought a restraining order two days ago, there was
20
     an imminent threat of PCA violations on the streets of Los Angeles. That threat has already
21
     become reality. For example, photos posted on social media by ICE depict heavily armed
22
     members of the National Guard standing alongside ICE agents during arrests. See, e.g., Espíritu
23
     Decl., Exs. 2, 3. And the federal government has issued public statements confirming that
24
     “[t]roops on the ground in Los Angeles are providing perimeter and personnel protection for
25
     [ICE] facilities and officers who are out on daily enforcement operations.” E.g., Popli et al.,
26
     Federal Judge to Hear California’s Case Against Trump’s Deployment of Troops to Los Angeles,
27
            4
               Defense Support of Civil Authorities, Joint Publication 3-28, p. III-I (2018),
28   https://irp.fas.org/doddir/dod/jp3_28.pdf (last visited June 12, 2025).
                                                       11
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 1   Time (June 10, 2025), https://time.com/7292875/trump-marines-la-immigration-protests/ (last

 2   visited June 12, 2025); see also Opp. 22 (acknowledging that troops are “providing security

 3   patrols, observation posts, and outer cordon security perimeter of buildings”).

 4         There is also an imminent risk of further PCA violations as hundreds of Marines and

 5   thousands more National Guard members arrive and deploy in Los Angeles. When those troops

 6   accompany ICE agents on arrest operations and raids in dense, urban communities—especially in

 7   tense environments where protesters are present—military forces are virtually certain to be drawn

 8   into a variety of law enforcement activities, such as confronting, interrogating, detaining, or

 9   searching civilians perceived as security threats. Indeed, high-ranking federal officials have

10   publicly signaled that military forces will soon engage in these forms of law enforcement. For

11   example, Major General Scott Sherman said that the troops deployed in Los Angeles are “there to

12   detain” demonstrators. 5 Similarly, Secretary of Homeland Security Noem requested that Defense

13   Secretary Hegseth order the military “to either detain . . . or arrest” “lawbreakers.” 6 See also,

14   e.g., Fortinsky, Bondi Says California At “Good Point”: “We’re Not Scared to Go Further” The

15   Hill (June 11, 2025), https://thehill.com/homenews/state-watch/5344237-pam-bondi-los-angeles-

16   protests-insurrection-act/ (last visited June 12, 2025) (statement of Attorney General Bondi) (“By

17   bringing in the National Guard, by bringing in the Marines, right now, to back them up, to protect

18   our federal buildings, to protect highways, to protect the citizens.”); id. (“We’re not scared to go

19   further. We’re not frightened to do something else if we need to.”).

20         Defendants’ principal response is that the military is merely providing “security” and

21   “protection” that “is distinct from the military members’ own engagement in ordinary law

22   enforcement.” Opp. 22-23. Defendants appear to view that form of assistance as an “indirect,”

23   rather than a “direct,” form of law enforcement. See id. But even if that characterization were

24   accurate, but see Joint Publication 3-28, supra, p. III-I (defining “direct civilian law enforcement

25
            5
               Marines on LA Streets ‘Soon’, Can Detain But Not Arrest, The Guardian (June 11,
26   2025), https://tinyurl.com/uru8vdz9 (last visited June 12, 2025).
             6
27             Gafni et al., DHS Secretary Sought Military Arrests & Drones in Los Angeles in Leaked
     Letter, SF. Chronicle (June 9, 2025), https://www.sfchronicle.com/us-world/article/noem-
28   immigration-protests-letter-20369001.php (last visited June 12, 2025).
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 1   activities” to include “security functions”), it would not avoid a PCA violation. As discussed

 2   above, assistance provided by the miliary “must not ‘amount to direct active involvement in the

 3   execution of the laws,’ and must not ‘pervade the activities of civilian authorities.’” Dreyer, 804

 4   F.3d at 1275 (emphasis added). If either “one of these tests is met,” the PCA is violated. Id.

 5   Here, military forces are pervasively intertwined with civilian law enforcement activities: Armed

 6   troops are working side by side with ICE agents in conducting arrests and raids in the streets,

 7   homes, and workplaces of Los Angeles. And because that substantial level of involvement makes

 8   increasing contact between the military and civilians unavoidable, there is a significant risk that

 9   the military’s role will grow to include detention, interrogation, and other activities that are

10   practically indistinguishable from urban policing operations.

11         Defendants’ contrary view of the PCA would usher in a vast and unprecedented shift in the

12   role of the military in our society. If the PCA allowed military forces to accompany ICE agents

13   on raids and arrests in the manner unfolding across the Los Angeles area, there would be no

14   logical basis to preclude members of the Armed Forces from accompanying other law

15   enforcement agents when performing their duties. Armed troops could, for example, accompany

16   FBI agents, food safety inspectors with the Department of Agriculture, Fish and Wildlife agents,

17   or Medicare fraud investigators when those civilian officials conduct searches, field interviews,

18   interrogations, or other law enforcement operations; or accompany federal voting rights officials

19   to “monitor” polling places during elections. Virtually every federal agency has an investigative

20   or enforcement arm. And many might welcome armed support from the military. Providing that

21   support would magnify the ability of officials at every level of government to coerce and control

22   individuals subject to their jurisdiction. The PCA was designed as a bulwark against that kind of

23   erosion of individual liberty. See generally Gilbert v. United States, 165 F.3d 470, 472 (6th Cir.

24   1999) (“The [PCA] reflects a concern, which antedates the Revolution, about the dangers to

25   individual freedom and liberty posed by use of a standing army to keep civil peace.”).

26         Defendants assert (see Opp. 21) that the PCA is inapplicable in this case because the

27   President has invoked 10 U.S.C. § 12406. But that provision at most allows the President to

28   federalize National Guard troops. See supra p. 2. It does not exempt those troops from the
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 1   PCA’s restrictions on engagement in law enforcement activities. The PCA applies to military

 2   forces, including federalized members of the National Guard, “except in cases and under

 3   circumstances expressly authorized by the Constitution or Act of Congress.” 18 U.S.C. § 1385

 4   (emphasis added). Nothing in Section 12406 “expressly authorize[s]” members of the National

 5   Guard to engage in civilian law enforcement. See, e.g., ECF No. 8 at 13 (collecting authorities

 6   recognizing that section 12406 does not operate as an exception to the PCA).

 7         For similar reasons, Defendants’ reliance on the “protective power” is unavailing. The

 8   “protective power” is a legal theory devised by executive-branch lawyers—but never squarely

 9   endorsed by the judiciary—to give the President authority to act in ways that Congress has neither

10   authorized nor prohibited. See, e.g., Mirasola, Sovereignty, Article II, and the Military During

11   Domestic Unrest, 15 Harv. Nat’l Sec. J. 199, 207-208, 219-223 (2023). Even assuming that

12   theory is valid as a general matter, but see id. at 219-223, 254-256 (raising serious questions

13   about its validity and scope), it does not provide “express authoriz[ation]” for military forces to

14   engage in civilian law enforcement. 18 U.S.C. § 1385. The “protective power” theory appears

15   nowhere in the text of the Constitution. Those who defend its existence have grounded the theory

16   in inferences from abstract clauses, such as the President’s general duty to “take Care that the

17   Laws be faithfully executed.” U.S. Const., art. II, § 3; see, e.g., Mirasola, supra, at 216, 222.

18         The two nineteenth-century cases invoked by Defendants (see Opp. 21-22) do not show

19   otherwise. Neither In re Neagle, 135 U.S. 1 (1890), nor In re Debs, 158 U.S. 564 (1895),

20   addressed the federal government’s compliance with the PCA. In the former, the Court merely

21   upheld the authority of the U.S. Marshal’s Service—not the military—to provide protective

22   services to a member of the Supreme Court. See Neagle, 135 U.S. at 60. In the latter, the Court

23   recognized the authority of the federal government to maintain the orderly administration of the

24   U.S. postal system, i.e., delivering the mail—including, if necessary, through reliance on the

25   military. See In re Debs, 158 U.S. at 582. Defendants provide no basis for viewing protection of

26   the orderly flow of mail as a form of civilian law enforcement activity that would fall within the

27   PCA’s scope. And Defendants certainly provide no basis for viewing In re Debs as a license for

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 1   the unprecedented, pervasive form of military entanglement with law enforcement on display in

 2   Los Angeles today.

 3         Finally, to the extent Defendants think that their theory of “protective power” can override

 4   the express terms of the PCA, cf. Opp. 21-22, that view is irreconcilable with settled separation of

 5   powers principles. “When the President takes measures incompatible with the expressed or

 6   implied will of Congress, his power is at its lowest ebb.” Youngstown Sheet & Tube Co. v.

 7   Sawyer, 343 U.S. 579, 637 (1952) (Jackson, J., concurring in the judgment). “Courts can sustain

 8   exclusive Presidential control in such a case only by disabling the Congress from acting upon the

 9   subject.” Id. at 637-638. And a “Presidential claim to a power at once so conclusive and

10   preclusive must be scrutinized with caution, for what is at stake is the equilibrium established by

11   our constitutional system.” Id. at 638; see City & Cnty. of San Francisco v. Trump, 897 F.3d

12   1225, 1233 (9th Cir. 2018). Here, Defendants have not identified any plausible justification for

13   wielding extraordinary, unilateral power to violate the PCA—a statute that has long embodied our

14   Nation’s commitment to limiting military intrusion into civilian affairs. See, e.g., Amicus Br. of

15   Former U.S. Army & Navy Secretaries & Retired Four-Star Admirals & Generals, ECF No. 31-1,

16   at 2 (“deploying National Guard and active-duty military personnel in the context of domestic law

17   enforcement should be a rare and carefully considered occurrence that strictly complies with the

18   Posse Comitatus Act and its exceptions”).

19   II.   THE BALANCE OF HARMS AND EQUITIES FAVORS INJUNCTIVE RELIEF
20          The remaining Winter factors weigh in favor of granting the limited, temporary relief that

21   the State and California’s Governor seek. Plaintiffs have shown significant, irreparable harm, and

22   the equities and public interest similarly weigh in Plaintiffs’ favor. Indeed, the requested TRO is

23   for the benefit of all—it is narrowly drawn; it does not bar Defendants from protecting their

24   property or personnel stationed there; and it in no way inhibits ICE from carrying out its ordinary

25   functions. The TRO will merely guard against a match igniting the powder keg that Defendants

26   have assembled across Los Angeles over the past several days.

27

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 1         A.    The Harms to California Absent a TRO Are Concrete and Outweigh Any
                 Harm to Defendants, and the Requested TRO Is in the Public Interest
 2
            Plaintiffs have furnished evidence of significant harms—and a serious threat of further
 3
     imminent harms—to California if a temporary restraining order is not issued. Plaintiffs have also
 4
     shown that a TRO will benefit the public. First, deployment of the National Guard and other
 5
     armed forces has already caused, and will continue to exacerbate, risk of escalating tension and
 6
     violence in Los Angeles. Far from being hypothetical, as Defendants suggest, this harm is
 7
     already playing out, and the risks increase the longer the military is deployed to the streets. ECF
 8
     No. 8-2, Olmstead Decl. ¶ 12. Deploying troops with inadequate crowd control and civil unrest
 9
     training is bad enough. Marrying them to contentious, unprecedented civil immigration law
10
     enforcement activities in communities across Los Angeles (and potentially statewide) will only
11
     increase the risk of harm to all involved, including the National Guard members themselves.
12
     Indeed, on the first day of the National Guard’s deployment to the federal building in Los
13
     Angeles, their presence attracted more protestors, and order was restored only when local law
14
     enforcement arrived at the scene—an episode that belied the entire theory of the federalization
15
     orders here. ECF No. 8-2, Olmstead Decl. ¶¶ 9, 12.
16
            Second, the deployment of California’s National Guard impairs the National Guard’s
17
     ability to perform critical functions for the State of California, including providing urgent
18
     responses to natural disasters and wildfires and drug interdiction, among other imperative
19
     missions. ECF No. 8-3, Eck Decl. ¶ 16. By diverting thousands of California National Guard
20
     member—32% of its available strength, Eck Supp. Decl. ¶ 4—to Los Angeles without any
21
     legitimate need, Defendants are compounding and extending harm to the rest of the State.
22
     California relies on the experience and expertise of its National Guard members to respond to real
23
     emergencies. This is not theoretical. As of yesterday, there were 13 fires actively burning in
24
     California, including the Ranch Fire in San Bernardino County, which has consumed over 4,200
25
     acres. Eck Supp. Decl. ¶ 10. If the Ranch Fire continues to grow at its current rate, it will require
26
     the response of Task Force Rattlesnake—a segment of California’s National Guard that has been
27
     depleted by more than half because Defendants have moved its members to Los Angeles. Id. ¶¶
28
                                                      16
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 1   6-10. Without a substantial segment of its National Guard, the State cannot reliably protect itself

 2   from emergencies. Id. ¶ 15.

 3          Defendants suggest that the situation in Los Angeles is a more pressing “emergency” than

 4   any other situation the National Guard could be called to address, see Opp. 27, but they offer no

 5   evidence to substantiate their claim. By contrast, Plaintiffs have offered substantial evidence that

 6   federalization is actively pulling National Guard members away from other critical work. See,

 7   e.g., Eck. Decl. ¶¶ 41-43 (describing the California National Guard’s Counterdrug Task Force,

 8   which operates year-round to prevent drug trafficking); id. ¶ 47-48 (explaining that members of

 9   the Counterdrug Task Force have been federalized as part of the DOD June 7 Order); id. ¶ 49

10   (deployment is pulling away highly trained fire mitigation and prevention and direct fire

11   suppression CMD specialists at the start of California’s wildfire season). Because Defendants

12   have ordered troops to be deployed for a full 60 days, see ECF No. 8-1, Exs. O & P, the

13   deleterious impact on the Guard’s critical work is likely to grow considerably.

14          Defendants’ opposition invokes hypothetical exposure of “federal employees and property

15   to violence and vandalism,” but they provide no evidence that National Guard troops are

16   necessary to prevent those harms, nor that such harms would result from Plaintiffs’ requested

17   TRO. The evidence Plaintiffs provided established that state and local law enforcement already

18   have the situation well in hand. See ECF No. 8-2, Olmstead Decl. ¶¶ 6-15. Indeed, state and

19   local law enforcement are better equipped to handle this situation as they have received

20   specialized training for handling civil unrest, while National Guard troops and the Marines have

21   not. Id. ¶¶ 8, 11. As scholars and military experts have long recognized, “[t]he direct

22   involvement of the military in law enforcement has serious potential for infringement on

23   individual rights” because “[t]he character of law enforcement de-escalates to use lesser forms of

24   force while the military escalates to use deadly force in accomplishing the mission.” E.g., Lt.

25   Col. Weston, U.S. Army War College Strategy Research Project, Review of the Posse Comitatus

26   Act After Hurricane Katrina 1, 16 (2006), https://apps.dtic.mil/sti/tr/pdf/ADA448803.pdf (last

27   visited June 12, 2025); see id. (“Simply put, law enforcement personnel search and capture, while

28   the military search and destroy.”).
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 1          Defendants’ arguments and declarations refute none of this. They rely on inflammatory

 2   descriptions of the incidents of violence that have occurred, but as Defendants acknowledge,

 3   LAPD and LASD responded to each of these incidents, as they regularly do, according to their

 4   training, when faced with urban riots and unrest. E.g., ECF No. 22-1, Santacruz Decl. ¶¶ 11-13

 5   (LAPD responded to incident at Roybal Courthouse and federal employees were able to “h[o]ld

 6   the line” until LAPD arrived); id. ¶¶ 18-22, 25-26, 32 (LASD and LAPD responded to incidents

 7   and declared them unlawful assemblies); id. ¶ 24 (when protesters confronted federal agents

 8   outside Los Angeles City Hall, LAPD issued a dispersal order and made arrests); id. ¶ 30

 9   (mobilization of additional LAPD officers). The mere existence of unrest does not automatically

10   require the intervention of federal troops. Indeed, if that were the bar there would be federal

11   troops in seven other States today. See Jim Vertuno, Associated Press, Protests over immigration

12   raids pop up across the US with more planned, (June 12, 2025) (mapping protests).

13          In addition, most if not all of the harms Defendants invoke involve activities on federal

14   property. See Opp. at 24-25 (discussing harms to federal building complex and federal

15   courthouse). But the limited relief Plaintiffs seek in this TRO does not prohibit Defendants from

16   using federal forces to protect federal property or the personnel stationed there. Plaintiffs’

17   Proposed Order asks the Court to make that limitation unambiguous: “This Order does not

18   prohibit any of the Title 10 Force at issue from providing indirect assistance to federal officials by

19   protecting federal immigration detention facilities and other federal buildings or real property

20   owned or leased by the government, or by defending federal officials or employees from

21   threatened physical harm at such buildings or real property.” ECF No. 8-4 at 5. Defendants may

22   continue to rely on federalized troops to defend federal real property and personnel stationed

23   there as this case proceeds, and they will not be harmed by a requirement that they simply rely on

24   local law enforcement when they are out in the community.

25          Defendants suggest that “Los Angeles ‘has made a longstanding decision’ not

26   ‘participat[e] in federal civil immigration enforcement’” and that the City therefore cannot be

27   trusted to respond to incidents of violence related to ICE’s enforcement of those laws. Opp. at

28   25-26 (quoting City of L.A. v. Barr, 929 F.3d 1163, 1173 (9th Cir. 2019)). That sorely
                                                      18
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 1   misrepresents the law and the facts. Nothing in California law forbids state and local law

 2   enforcement agencies from keeping ICE agents—or anyone else—safe from harm during

 3   episodes of civil unrest or other emergencies. See generally United States v. California, 921 F.3d

 4   865 (9th Cir. 2019) (describing California’s laws regarding state and local involvement in

 5   immigration enforcement). And as a factual matter, local law enforcement officials have worked

 6   tirelessly to quell violence and unrest and keep Los Angeles safe, including—as Defendants’ own

 7   declarants concede—by protecting federal property and personnel.

 8         B.    Plaintiffs’ Motion Seeks Limited Relief
 9          Defendants cast Plaintiffs’ TRO as a broad and dangerous order, but they fail to

10   meaningfully engage with the relief Plaintiffs actually request, which is quite narrow. Plaintiffs

11   request a TRO that: (1) enjoins DOD Defendants from ordering or deploying the Title 10 Force

12   to enforce or aid federal agents in enforcing federal law or to take any action beyond those that

13   are required to ensure the protection and safety of federal buildings and other real property owned

14   or leased by the federal government and federal personnel on such property; (2) enjoins DOD

15   Defendants from ordering or permitting the Title 10 Force to execute or assist in the execution of

16   any federal agent or officer’s enforcement of federal law, including but not limited to all law-

17   enforcement functions such as execution of warrants, arrests, searches, checkpoints, or cordons;

18   and (3) enjoins DOD Defendants “from ordering or permitting the Title 10 Force to patrol

19   communities or otherwise engage in general law enforcement activities beyond the immediate

20   vicinity of federal buildings or other real property owned or leased by the federal government.”

21   ECF No. 8-4.

22          Plaintiffs do not seek, at this stage, an order that fully invalidates the federalization of the

23   National Guard. Instead, they seek more limited relief aimed at preventing federalized troops and

24   the Marines Corps from patrolling the streets of Los Angeles and engaging in activities that

25   pervasively entangle military forces with civilian law enforcement. This requested relief is

26   narrowly tailored to prevent further escalation of tensions and is designed to prevent activities

27   that the PCA prohibits in any event. See supra pp. 13-15; see generally R.I.L.-R v. Johnson, 80 F.

28   Supp. 3d 164, 191 (D.D.C. 2015) (federal government “cannot suffer harm from an injunction
                                                       19
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 1   that merely ends an unlawful practice” (quoting Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th

 2   Cir. 2012))).

 3   III. THE COURT SHOULD ISSUE A NOMINAL BOND AT MOST
 4          “Rule 65(c) invests the district court ‘with discretion as to the amount of security required,

 5   if any.” Jorgensen v. Cassiday, 320 F.3d 906, 919 (9th Cir. 2003) (quoting Barahona-Gomez v.

 6   Reno, 167 F.3d 1228, 1237 (9th Cir. 1999) (emphasis in original)). “The district court may

 7   dispense with the filing of a bond when it concludes there is no realistic likelihood of harm to the

 8   defendant from enjoining his or her conduct.” Id. It is also appropriate to order no bond or a

 9   nominal bond in cases implicating constitutional rights or involving the public interest. Taylor-

10   Failor v. Cnty. of Haw., 90 F. Supp. 3d 1095, 1102-03 (D. Haw. 2015) (citing Save Our Sonoran,

11   Inc. v. Flowers, 408 F.3d 1113, 1126 (9th Cir. 2005)). Because this is such a case, and

12   Defendants have not offered any evidence they will be harmed by the limited, temporary relief

13   Plaintiffs seek, the Court should issue, at most, a nominal bond of $100, as requested in Plaintiffs’

14   Proposed Order

15                                            CONCLUSION

16          The motion for a temporary restraining order should be granted.

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 1   Dated: June 12, 2025                           Respectfully submitted,

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